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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


 In re Flint Water Cases.                Judith E. Levy
                                         United States District Judge
 ________________________________/

 This Order Relates To:

 ALL CASES

 ________________________________/

    ORDER GRANTING MOTION FOR RELIEF FROM LOCAL
                 RULE 83.20(f)(2) [759]

      On February 4, 2019, defendants Veolia Water North America

 Operating Services, LLC, Veolia North America, Inc., and Veolia North

 America, LLC (the VNA defendants) filed a motion for relief from Local

 Rule 83.20(f)(2). (Dkt. 759.) Rule 83.20(f)(2) states that “[l]ocal counsel

 must attend each scheduled appearance on the case unless the Court, on

 its own motion or on motion or request of a party, dispenses with the

 requirement.” The Court notes that the VNA defendants are ably

 represented by out-of-state counsel, and that these attorneys have

 appeared before the Court on a number of occasions. Accordingly, the
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 Court GRANTS the motion. Local counsel for the VNA defendants are

 no longer required to attend scheduled appearances.

      IT IS SO ORDERED.

 Dated: February 5, 2019                  s/Judith E. Levy
      Ann Arbor, Michigan                 JUDITH E. LEVY
                                          United States District Judge

                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on February 5, 2019.

                                          s/Shawna Burns
                                          SHAWNA BURNS
                                          Case Manager




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